   Case: 1:12-cv-03130 Document #: 1-5 Filed: 04/27/12 Page 1 of 4 PageID #:33




In Witness Whereof, the Borrower(s)    have executed this Modification Agreement.

                                                                 ________________                                (Seal)
                                                                 Borrower

                                                                 Date

                                                                 ___      .                                      (Seal)
                                                                 Bon-ower

                                                                 Date


_____________                       [Space Below This Line For Acknowledgments]                                        _




STATE OF _________________                    )SS

COUNTY OF                                     )

On                                             , before me,                                        personally appeared
___________________                                   , personally known to me (or proved to me on the basis of
satisfactory evidence) to the person(s) whose name(s) is/are subscribed to the within instrument and acknowledged
to me that he/she/they executed the same in his/her/their authorized capacity(ies) and that his/her/their signature(s)
on the instrument to the person(s) or the entity upon behalf of which the person(s) acted executed the instruments.

I certify under PENALTY OF PERJURY under the law of the State of                                  that the foregoing
paragraph is true and correct.

WITNESS my hand and official seal.

Signature
          -----------------
Printed Name:                _
My Commission Expires:     _




                                                           8
   Case: 1:12-cv-03130 Document #: 1-5 Filed: 04/27/12 Page 2 of 4 PageID #:34




In Witness Whereof, the Lender has. executed this Modification Agreement.

PNC BANK:


By:
[ ------------------

Its: Authorized Representative


_____________                      [Space Below This Line For Acknowledgments]                                     _


STATE OF OHIO                                                   )        ss:

COUNTY OF CUYAHOGA                                             )


On this, the          day of                                    before me, a Notary Public, the undersigned officer,
personally appeared                                              , who acknowledged himself/herself to be an
authorized signer of PNC Bank, N.A. and that he/she, as such officer, being authorized to do so, executed the
foregoing instrument for the purposes therein contained by signing on behalf of said bank as such officer.

IN WITNESS WHEREOF, I hereunto set my hand and official seal.


Notary Public: __ .,--              _
Printed Name:
               --~-----------------
My Commission Expires:            _
County of Residence:              _




                                                          9
Case: 1:12-cv-03130 Document #: 1-5 Filed: 04/27/12 Page 3 of 4 PageID #:35



           AUTOMATED PAYMENT (ACH DEBIT) AUTHORIZATION                                    FOR
                 HOME EQUITY - LOANS I LINES OF CREDIT

I authorize and direct the depository bank where I have my checking/savings         account as
identified below ("Depository Bank") to make payments to PNC Bank for my Home Equity Loan or
Home Equity Line of Credit as identified below ("Account") on the Account's payment due date as
shown on my monthly billing statement, and to charge by checking/savings account at Depository
Bank as designated below:




    Depository Account Number                  Home Equity Loan/Line of Credit Account Number



    City and State                            Routing and Transit Number (9-digit number at bottom
                                              left of check)

    Type of Account:                          [ 1Checking or [l Savings*
                                              *There is a limitation of six (6) pre-authorized transfers per
                                              month for savings account.


     PLEASE ATTACH A VOIDED CHECK OR A DEPOSIT SLIP FOR VERIFICATION                                   OF
                          DEPOSITORY INFORMATION

I understand that if I have a variable rate loan, I will receive prior written notice of any change in
my payment amount and when it will go into effect. PNC Bank may, in its discretion, initiate ACH
credit entries/adjustments to the Account indicated above in the case of any debit entry initiated in
error.

I acknowledge and agree that this Automated Payment (ACH Debit) Authorization will remain in
full force and effect until PNC Bank receives written notification from me of its termination. Such
notice must be sent at least twenty (20) days in advance of my next payment date to the address
noted below. I further agree that PNC Bank shall have a reasonable period of time upon which to
act on such instruction and turn off the ACH payment.

   PLEASE CONTINUE TO SEND PAYMENTS AS NOTED IN YOUR BILLING STATEMENT
          UNTIL YOU RECEIVE WRITTEN NOTICE OF ACH PAYMENT SETUP

By signing below, I acknowledge that I understand the terms              of this Automated           Payment
Authorization and that I have received a copy for my records.


Name of Deposit Account Holder                    Social Security Number of Deposit Account Holder



Deposit Account Holder's Signature                Date


 PLEASE SIGN AND RETURN THIS FORM WITH THE ATTACHED                         LOAN DOCUMENTS                   TO
                       THE ADDRESS NOTED BELOW


                                                                                148662



                                                                                          1111111111111111111I11111111111111111111111111111
                                                                                                       ACHAUTHLOAN_1
Consumer   Loan Services, Locator BR-YB58-01-A,    6750 Miller Rd., Brecksville,    OH 44141
Case: 1:12-cv-03130 Document #: 1-5 Filed: 04/27/12 Page 4 of 4 PageID #:36



 Signing Instructions:

 Customer:

          Sign your name as it appears on Page 1 of Modification Agreement

Notary:

          Print the Customer's Name exactly as they signed (which should match the 1st
          page of the modification agreement)
